     Case 0:25-cv-60120-RS Document 12 Entered on FLSD Docket 02/20/2025 Page 1 of 3


       John Doe, Pro se
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3             UNITED STATES COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
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6           John Doe,
                                                             MOTION TO DROP DEFENDANTS
7                                                            FORMER PRESIDENT JOSEPH R.
                               Plaintiff,
                                                             BIDEN AND REPUBLICAN
                    vs.
8                                                            (ELEPHANT) AND DEMOCRATIC
                                                             (DONKEY) NATIONAL
9           President Donald J. Trump
                                                             COMMITTEES
                          Defendant


11
                               MOTION TO DROP ALL DEFENDANTS EXCEPT
12
                             PRESIDENT (PRESIDING OFFICER) DONALD TRUMP
13

14                                  IN HIS CURRENT OFFICIAL CAPACITY

15            The Plaintiff now believes that it is in the best interest of Plaintiff-achievable justice for the

16     Defendants Republican National Committee (Elephant Party), Democratic National Committee
17
       (Democratic Party), and now-Former President Joseph R. Biden to be dropped as defendants in
18
       this civil lawsuit.
19
              Former President Joseph R. Biden is now in official retirement from public office,
20
       rendering the case against him on age limits in the Commander-in-Chief position moot. There is
21

22     no point in continuing the lawsuit against him in his retirement, and as such, the Plaintiff is not

23     going to continue taking action to serve process to him. The Plaintiff wishes the former President

24     a wonderful retirement and an amazing quality-of-life for his remaining years. May he live as
25
       long and serve as fully as Former President Jimmy Carter did in his post-Presidency.
26
               As for the Republican and Democratic National Committees, the Plaintiff was forced to
27
       choose one and only one cause of action on the Civil Case Cover Sheet at the Courthouse on the
28


                                                   Motion
     ,._
           Case 0:25-cv-60120-RS Document 12 Entered on FLSD Docket 02/20/2025 Page 2 of 3
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             day of filing . Given that, the Plaintiff would like to prioritize above all the case against the
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             occupation of the Commander-in-Chief role beyond the age limits set forth for military service in
3
             10 U.S . Code §1253 , under the Civil Cover Sheet heading of "Other Civil Rights" , as well as the
4
5            surviving RFRA claims and the Plaintiffs pleading for a "State of the Constitution" National

6            Tradition, all of which also fit within the category of "Other Civil Rights". The part of the

7            pleading related to the Party Duopoly of Elephants and Donkeys was, in the Plaintiffs estimation,
8
             the most underargued/underdeveloped (though still correct, the Plaintiff holds) part of his
9
             Pleading.
10
                    The Plaintiff still feels that he is fundamentally right that there is a Sherman Antitrust Act
11
             violation in the way election laws are configured that burdens minority parties and civic secular
12
13           and sectarian religious expression through matching minority party growth. But the Plaintiff also

14           feels that he may have bit off "more than he could chew" and put too much on his plate in

15           including the Democratic and Republican National Committees as direct Defendants in this round
16
             of civil pleading.
17
                    All that said, the background of duopolistically-constrained electoral choice in the
18
             Presidential contest may become relevant or even critical in deciding the other parts of my
19
20           claims, including the proposal of more ideal political structures in the State of the Constitution

21           Address that might help us avoid age limit and other Constitutional crises like this. That

22           background may also be important if President Donald Trump attempts to overclaim a "popular"
23           mandate that doesn't actually exist. President Trump was not the majority of eligible voters' first
24
             or last choice for Presiding Officer of these United States -- that much is abundantly clear. At
25
             best, he has a substantially begrudging, unenthusiastic plurality of eligible voters outside his
26
             smaller enthusiastic base who support him because they were given no better leading choices that
27
28           were religiously and politically consistent with their views and within more reasonable age limits.


                                                          Motion
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     Case 0:25-cv-60120-RS Document 12 Entered on FLSD Docket 02/20/2025 Page 3 of 3

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              Please also note that the Plaintiff is not suing the President of the United States as a
2
       private person. As such, he has no reason to hire a private attorney or an army of private
3
       attorneys to face off with the Plaintiff or the Class the Plaintiff represents and run up insanely
4

5      high legal bills on which to chill this religious action, this Governmental petition, or this free

6      speech.

7                          GRANDFATHER'S DEATH DELAYED THIS FILING
8
              The Plaintiffs surviving grandfather died recently on Tuesday, February 4th, 02025 CE.
9
       This filing would have arrived to the Court sooner if that extenuating circumstance (familial
10
       bereavement) had not occurred, particularly if the Plaintiff had had the convenience of electronic
11
       filing access.
12

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17                                                           s/Plaik~oe, Currently Pro se
                                                             For the Center Forward Party of Hippocratic
18                                                           Hands, aka the Miracle Berries

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                                                   Motion
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